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                            NEO4J, INC. and NEO4J SWEDEN AB
                   10

                   11                                         UNITED STATES DISTRICT COURT

                   12                                   NORTHERN DISTRICT OF CALIFORNIA

                   13       NEO4J, INC., a Delaware corporation; and            CASE NO. 5:19-cv-06226-EJD
                            NEO4J SWEDEN AB, a Swedish
                   14       corporation,                                        [PROPOSED] STIPULATED JUDGMENT
                                                                                AND PERMANENT INJUNCTION
                   15                           Plaintiffs,
                   16                v.
                   17       GRAPH FOUNDATION, INC., an Ohio
                            corporation, GRAPHGRID, INC., an Ohio
                   18       corporation, and ATOMRAIN INC., a
                            Nevada corporation,
                   19
                                                Defendants.
                   20

                   21                Plaintiffs Neo4j, Inc. and Neo4j Sweden AB (collectively “Neo4j” or “Plaintiffs”), and

                   22       Graph Foundation, Inc. (“GFI”), AtomRain and GraphGrid (GFI, AtomRain and GraphGrid

                   23       collectively “Defendants” and with Plaintiffs collectively “Parties”), through their undersigned

                   24       counsel, hereby stipulate and move this Court for entry of judgment and a permanent injunction

                   25       (“Stipulated Judgment”):

                   26                Accordingly, IT IS HEREBY ADJUDGED AND ORDERED that:

                   27                1.     Neo4j and Defendants have entered into a Confidential Settlement Agreement to

                   28       resolve this action and these parties have agreed on terms of this Stipulated Judgment.
H OPKINS & C ARLEY
  ATTORNEYS AT LAW          842\3692662.2
 SAN JOSE   PALO ALTO
                            [PROPOSED] STIPULATED JUDGMENT AND PERMANENT INJUNCTION; CASE NO. 5:19-CV-06226-EJD
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                        1            2.     On Plaintiffs’ claims for (a) trademark infringement, 15 U.S.C. § 1114; (b) false
                        2   designation of origin and false advertising, 15 U.S.C. § 1125(a); (c) federal unfair competition, 15
                        3   U.S.C. § 1125(a); (d) state unfair competition, Cal. Bus. Prof. Code §§ 17200 et seq.; (e) violations
                        4   of the Digital Millennium Copyright Act (“DMCA”), 17 U.S.C. § 1202(b); and (f) breach of license
                        5   agreement, Plaintiffs shall recover the injunctive and equitable relief against Defendants herein.
                        6            3.     Defendants affirm and acknowledge that Neo4j, Inc. is the rightful owner in the
                        7   United States of all right, title and interest in and to U.S. Trademark Registration No. 4,784,280 for
                        8   the word mark “NEO4J” covering the goods and services in International Classes, 009, 035, 041,
                        9   042 and 045 (the “Neo4j® Mark”). Defendants affirm and acknowledge that the Neo4j® Mark
                   10       and its registration are valid and subsisting. Defendants agree and affirm that they will not at any
                   11       time or for any reason challenge either the validity of the Neo4j® Mark, its registration or the
                   12       ownership thereof, or assist any third party in challenging the validity of the Neo4j® Mark or the
                   13       registration thereof.
                   14                4.     Defendants also declare and affirm that Neo4j, Inc. is the owner of U.S. Trademark
                   15       Application No. 90056224 for the word mark “NEO4J.” Defendants affirm and acknowledge that
                   16       the word mark “NEO4J” subject to that application valid and subsisting. Furthermore, Defendants
                   17       agree and affirm that they will abandon all efforts to oppose this application and will not challenge
                   18       the validity or ownership thereof, or the validity or ownership of any resulting registration thereof,
                   19       or assist any third party in opposing this application or challenging the validity or ownership of the
                   20       mark subject to this application or the validity of any resulting registration thereof.
                   21                5.     Defendants further declare and affirm that Plaintiffs’ inclusion of the Commons
                   22       Clause in the Neo4j Sweden Software License, and example of which is attached hereto as Exhibit
                   23       A, is valid; and Defendants’ removal, replacement and/or omission thereof, and related copyright
                   24       management information from source code to which Plaintiffs hold the copyright, was not
                   25       authorized by Plaintiffs, allowed by the terms of the Neo4j Sweden Software License and violated
                   26       the DMCA, 17 U.S.C § 1202(b) (“DMCA Violation”).
                   27                6.     Defendants agree and affirm that they will not assist or encourage John Mark Suhy,
                   28       PureThink LLC and iGov Inc. or any third party in challenging the validity of the Neo4j Sweden
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  ATTORNEYS AT LAW          842\3692662.2                                      -2-
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                            [PROPOSED] STIPULATED JUDGMENT 5:19-CV-06226-EJD
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                        1   Software License, or in the copying and distribution of source code with a DMCA Violation,
                        2   including ONgDB version 3.4, ONgDB version 3.5, ONgDB version 3.6 and any subversions or
                        3   derivatives thereof, or that has been subject to the Neo4j Sweden Software License, including
                        4   Neo4j® Enterprise Edition 3.4, Neo4j® Enterprise Edition 3.5, or any subsequent versions,
                        5   subversions, or derivatives thereof.
                        6            7.     Defendants, as well as their shareholders, directors, officers, agents, employees,
                        7   parents, subsidiaries, successors and assigns, and all those acting under their direction, control or
                        8   on their behalf, as well as any entity that is spun-off from or formed by them, or acquires or merges
                        9   with any Defendant are hereby permanently enjoined as follows:
                   10                       (a)      Defendants may not make further use of, or fork any source code first
                   11       released under the Neo4j Sweden Software License, including Neo4j® Enterprise Edition 3.4,
                   12       Neo4j® Enterprise Edition 3.5, or any subsequent subversions or derivatives thereof.
                   13                       (b)      Defendants shall not offer for sale, advertise, promote, represent or refer to
                   14       ONgDB as follows:
                   15                       i. A free and open source drop-in replacement of Neo4j® Enterprise Edition
                   16                             distributions with the same version number;
                   17                       ii. A drop-in replacement for commercially licensed Neo4j® Enterprise Edition;
                   18                       iii. A drop-in replacement for Neo4j® Enterprise Edition under the GNU Affero
                   19                             General Public License, version 3 (“AGPLv3”), without limitations on causal
                   20                             cluster instances, cores, or production usage;
                   21                       iv. A fork of the Neo4j® graph database platform that adds enterprise code back
                   22                             into Neo4j® core; and
                   23                       v. One hundred percent (100%) free and open source version of Neo4j® Enterprise
                   24                             Edition version 3.4, Neo4j® Enterprise Edition version 3.5, or any version of
                   25                             Neo4j® Enterprise Edition released by Neo4j thereafter.
                   26                       (c)      Defendants shall not represent that Neo4j Sweden AB’s inclusion of the
                   27       Commons Clause to the license governing Neo4j® Enterprise Edition violated the terms of
                   28       AGPLv3, or make similar statements.
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  ATTORNEYS AT LAW          842\3692662.2                                      -3-
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                        1                   (d)     Defendants shall not represent that the Free Software Foundation (FSF) or
                        2   that any government agency determined and/or confirmed that (a) the inclusion of the Commons
                        3   Clause to any license governing Neo4j® Enterprise Edition violated the terms of AGPLv3; and/or
                        4   (b) the Commons Clause can be removed from any software license governing Neo4j® Enterprise
                        5   Edition and/or ONgDB.
                        6                   (e)     Defendants may only make further use of the following publicly available
                        7   open source code, subject to the terms of their respective open source licenses: (i) Neo4j
                        8   Community Edition Source Code under the GNU General Public License, version 3 (“GPL”); (ii)
                        9   Neo4j® Enterprise Edition version 3.2.14 source code released under the AGPLv3; (iii) Neo4j®
                   10       Enterprise Edition version 3.3.10 source code released under the AGPLv3; (iv) Neo4j® Enterprise
                   11       Edition version 3.4.0.RC02 source code released under the AGPLv3. Nothing herein, however,
                   12       shall be construed as a license or otherwise entitle Defendants to use any source code, patches or
                   13       source code commits for Neo4j® Enterprise Edition version 3.3 or Neo4j® Enterprise Edition
                   14       version 3.4 that were first released under the Neo4j Sweden Software License. Further, nothing
                   15       herein shall be construed as a license or otherwise entitle Defendants to use or fork, any of
                   16       Plaintiffs’ source code that was first released as Neo4j® Enterprise Edition version 3.5 or otherwise
                   17       under the Neo4j Sweden Software License, including but not limited to, all beta releases, release
                   18       candidates, production releases, stable releases, and official releases, or any subsequent
                   19       subversions, patches or derivatives thereof.
                   20                       (f)     Defendants may not make representations about the AGPLv3, and shall
                   21       instead refer to the Free Software Foundation’s website for any interpretation of its meaning.
                   22                       (g)     Defendants may continue to use the name “ONgDB” for its products so long
                   23       as (i) it states on any website and/or any public statement that the name stands for “Open Native
                   24       Graph DB” and removes all references to ONgDB in reference to Plaintiffs and the Neo4j® Mark,
                   25       other than what is allowed in Paragraph 7(r); and (ii) restarts the version number for ONgDB to
                   26       version 1.0.
                   27                       (h)     Within three (3) days of entry of this Stipulated Judgment, Defendants shall
                   28       permanently remove, take down, destroy and prevent further access to all source code, object code,
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                        1   binaries, build files, build scripts and distributions from its repositories located at
                        2   https://github.com/graphfoundation and https://hub.docker.com/r/graphfoundation that contains
                        3   any Neo4j® Enterprise Edition source code with a DMCA Violation or that was first released
                        4   subject to the Neo4j Sweden Software License, including ONgDB version 3.4, ONgDB version
                        5   3.5, ONgDB version 3.6, and any subversions thereof.
                        6                   (i)      Within seven (7) days of entry of this Stipulated Judgment, Defendants shall
                        7   permanently remove, take down, destroy and prevent further access to any version of ONgDB (or
                        8   any similar software created and/or maintained by Defendants that is within their possession,
                        9   custody or control) that contains any Neo4j® Enterprise Edition source code with a DMCA
                   10       Violation or that was first released subject to the Neo4j Sweden Software License, including
                   11       ONgDB version 3.4, ONgDB version 3.5, ONgDB version 3.6 and any subversions or derivatives
                   12       thereof. This removal and destruction shall be effectuated regardless of where that code resides,
                   13       e.g.,      Defendants’      websites      (i.e.,    https://www.graphfoundation.org/projects/ongdb/,
                   14       https://www.graphgrid.com/gdp/,                    https://www.graphgrid.com/ongdb/,             and
                   15       https://www.atomrain.com/products/, and any the Content Delivery Services invoked therein),
                   16       AWS, AWS Gov Cloud, Docker, GitHub and/or any other source code repository or host service.
                   17                       (j)      Within ten (10) days of entry of this Stipulated Judgment, Defendants shall
                   18       identify in writing any known third-party commercial and/or governmental use of any version of
                   19       ONgDB containing any Neo4j Enterprise Edition source code with a DMCA Violation, that was
                   20       first released subject to the Neo4j Sweden Software License, or not otherwise permitted for use by
                   21       Paragraph 7(e).
                   22                       (k)      Defendants shall not offer any development, support, maintenance or hosting
                   23       services for any version of ONgDB that includes any Neo4j® Enterprise Edition source code with
                   24       a DMCA Violation or that was first released subject to the Neo4j Sweden Software License,
                   25       including ONgDB version 3.4, ONgDB version 3.5, ONgDB version 3.6 and any subversions or
                   26       derivatives thereof. Defendants can offer consulting services for commercial installations of
                   27       Neo4j® software, but only where the third party receiving such services has a commercial license
                   28       and has fully paid the commercial license fees to Plaintiffs. Should Defendants continue to offer
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                        1   ONgDB consulting services alongside consulting services with Neo4j® software as permitted
                        2   herein, then any advertising of Defendant’s services related to Neo4j® software is subject to
                        3   adhering to Plaintiffs’ then-current Trademark Policy.
                        4                   (l)     Defendants will not make any negative or disparaging comments or
                        5   representations about Plaintiffs, and their founders, officers, directors, investors, employees,
                        6   customers, products, partnership practices, licensing practices or pricing.
                        7                   (m)     Defendants will take down, delete and otherwise remove all webpages, posts
                        8   on GitHub, discussion forums, social media posts and blog posts (and all links thereto) that they
                        9   own, control, or have the ability and/or right to remove wherein they (i) reference Plaintiffs, their
                   10       licensing policies and practices, (ii) make the same or similar statements referenced in Paragraph
                   11       7(b) above, or (iii) use the Neo4j® Mark. Defendants also shall not use the Neo4j® Mark as a
                   12       hashtag on their respective websites or in any posts made on Twitter, Facebook or similar social
                   13       media sites.
                   14                       (n)     Defendants shall not make use of, or direct others to use, any of Plaintiffs’
                   15       documents or materials, such as software documentation, guides, manuals, change logs, release
                   16       notes and/or other publicly available technical information to create, maintain, market, use, and/or
                   17       sell ONgDB (or the equivalent). Any links to Plaintiffs’ documentation in Defendants’ software
                   18       shall be removed, or replaced with ONgDB documentation, bearing in mind that Plaintiffs’
                   19       documentation is licensed under the Creative Commons Attribution-NonCommercial-ShareAlike
                   20       4.0 International (CC BY-NC-SA 4.0) and its use by third parties, such as Defendants and their
                   21       customers, would be restricted to noncommercial purposes.
                   22                       (o)     Defendants shall not make any statement and/or representations to any third
                   23       party, affirmatively or in response to an inquiry, that state or imply that they can provide access to
                   24       or can obtain any software containing any Neo4j® Enterprise Edition source code with a DMCA
                   25       Violation, that is subject to the Neo4j Sweden Software License, or not otherwise permitted for use
                   26       by Paragraph 7(e).
                   27                       (p)     Defendants shall not have any expressed or implied license to use and shall
                   28       not make any further use of any of Plaintiffs’ trademarks, including U.S. Trademark Registration
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                        1   No. 4775253 for “CYPHER,” Trademark Registration No. 4784280 for “NEO4J,” U.S. Trademark
                        2   Registration No. 4824877 for “NEO TECHNOLOGY,” U.S. Trademark Registration No. 5250026
                        3   for the Neo4j Logo, and U.S. Trademark Application No. 90056224 for “NEO4J” (collectively
                        4   “Plaintiffs’ US Marks”), other than what is permitted in Paragraph 7(r).
                        5                   (q)     Defendants (and those acting in concert with them) will also permanently
                        6   remove Plaintiffs’ US Marks from their websites, marketing literature, social media sites, and any
                        7   other public facing resource, including all software interfaces, including, but not limited to, GUIs
                        8   and command lines.
                        9                   (r)     If Defendants continue to attempt to fork any of Plaintiffs’ source code
                   10       subject to the terms herein, their description of that source code and/or software, if it includes the
                   11       Neo4j® Mark, may only be made by the following statement: “ONgDB (or any equivalent) is an
                   12       independent fork of [Neo4j® Enterprise Edition version 3.2.14, Neo4j® Enterprise Edition version
                   13       3.3.10, and/or Neo4j® Enterprise Edition Source Code version 3.4.0.RC02 licensed under the
                   14       AGPLv3 and/or Community Edition licensed under the GPL]. ONgDB and [Defendants to insert
                   15       name of specific Defendant(s)] is not affiliated in any way with Neo4j, Inc. or Neo4j Sweden AB.
                   16       Neo4j, Inc. and Neo4j Sweden AB do not sponsor or endorse ONgDB and [Defendants to insert
                   17       name of the specific Defendant(s)]. Neo4j Sweden AB is the owner of the copyrights for Neo4j®
                   18       software and commercial use of any source code from Neo4j® Enterprise Edition beyond [Neo4j®
                   19       Enterprise Edition version 3.2.14, Neo4j® Enterprise Edition version 3.3.10, and/or Neo4j®
                   20       Enterprise Edition Source Code version 3.4.0.RC02] is prohibited and could subject the user to
                   21       claims of copyright infringement.”
                   22                8.     Neo4j, Inc. and AtomRain Inc. agree that the Neo4j Solution Partner Agreement
                   23       between AtomRain Inc. and Neo4j, Inc. was previously terminated and no surviving terms remain
                   24       in effect or enforceable other than any confidentiality obligations that remain.
                   25                9.     As between Plaintiffs, on one hand, and Defendants, on the other, each shall bear its
                   26       own costs and attorneys’ fees except as specified below in Paragraph 11.
                   27                10.    The Parties waive any rights to appeal this Stipulated Judgment.
                   28       ///
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  ATTORNEYS AT LAW          842\3692662.2                                      -7-
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                        1            11.    This Stipulated Judgment adjudicates all claims in this litigation and is a final
                        2   judgment. However, the Court expressly retains jurisdiction over any action to enforce this
                        3   Stipulated Judgment and the underlying Confidential Settlement Agreement concurrently entered
                        4   into by the Parties herewith. In any such action, the prevailing party shall be entitled to reasonable
                        5   attorneys’ fees and costs. The Parties request that in any future action to enforce or resolve any
                        6   disputes regarding this Stipulated Judgment and the underlying Confidential Settlement
                        7   Agreement, the Court refer the matter to Hon. Edward Davila for all purposes provided he is
                        8   available.
                        9   Dated: February 15, 2021                              HOPKINS & CARLEY
                                                                                  A Law Corporation
                   10
                                                                                  By: /s/ Jeffrey M. Ratinoff
                   11                                                                John V. Picone III
                                                                                     Jeffrey M. Ratinoff
                   12                                                                Attorneys for Plaintiffs
                                                                                     NEO4J, INC. and NEO4J SWEDEN AB
                   13
                            Dated: February 15, 2021                              BERGESON, LLP
                   14
                                                                                  By: /s/ John D. Pernick
                   15                                                                John D. Pernick
                                                                                     Attorneys for Defendant
                   16                                                                GRAPH FOUNDATION, INC.
                   17       Dated: February 15, 2021                              SKAGGS FAUCETTE LLP
                   18                                                             By: /s/ Jeffrey E. Faucette
                   19                                                                Jeffrey E. Faucette
                                                                                     Attorneys for Defendants GRAPHGRID,
                   20                                                                INC. and ATOMRAIN INC.

                   21
                                     PURSUANT TO STIPULATION, IT IS SO ORDERED AND ADJUDICATED.
                   22

                   23

                   24                February 16
                            Dated: ______________, 2021                        _____________________________________
                                                                                EDWARD J. DAVILA
                   25                                                           United States District Court Judge
                   26

                   27

                   28
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                                               EXHIBIT A
2/9/2021                  Case 5:19-cv-06226-EJD neo4j/LICENSE.txt
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           neo4j / neo4j

            Code                Issues 214               Pull requests 2          Actions    Projects            Wiki         Secu




                3.4


    neo4j / enterprise / neo4j-enterprise / LICENSE.txt


                 digitalstain Updates enterprise LICENSE.txt and NOTICE.txt …                                       History


            3 contributors



           Raw          Blame

       693 lines (568 sloc)            35.1 KB

            1         NOTICE
            2         This package contains software licensed under different
            3         licenses, please refer to the NOTICE.txt file for further
            4         information and LICENSES.txt for full license texts.
            5
            6         Neo4j Enterprise object code can be licensed independently from
            7         the source under separate commercial terms. Email inquiries can be
            8         directed to: licensing@neo4j.com. More information is also
            9         available at:https://neo4j.com/licensing/
           10
           11         The software ("Software") is developed and owned by Neo4j Sweden AB
           12         (referred to in this notice as “Neo4j”) and is subject to the terms
           13         of the GNU AFFERO GENERAL PUBLIC LICENSE Version 3, with the Commons Clause as follows:
           14
           15
           16
           17                                GNU AFFERO GENERAL PUBLIC LICENSE
           18                                   Version 3, 19 November 2007
           19
           20          Copyright (C) 2007 Free Software Foundation, Inc. <http://fsf.org/>
           21          Everyone is permitted to copy and distribute verbatim copies
           22          of this license document, but changing it is not allowed.
           23
           24                                          Preamble
           25
           26          The GNU Affero General Public License is a free, copyleft license
           27         for software and other kinds of works, specifically designed to ensure

https://github.com/neo4j/neo4j/blob/3.4/enterprise/neo4j-enterprise/LICENSE.txt                                               1/15
2/9/2021               Case 5:19-cv-06226-EJD neo4j/LICENSE.txt
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           28    cooperation with the community in the case of network server software.
           29
           30      The licenses for most software and other practical works are
           31    designed to take away your freedom to share and change the works.                   By
           32    contrast, our General Public Licenses are intended to guarantee your
           33    freedom to share and change all versions of a program--to make sure it
           34    remains free software for all its users.
           35
           36      When we speak of free software, we are referring to freedom, not
           37    price.     Our General Public Licenses are designed to make sure that you
           38    have the freedom to distribute copies of free software (and charge for
           39    them if you wish), that you receive source code or can get it if you
           40    want it, that you can change the software or use pieces of it in new
           41    free programs, and that you know you can do these things.
           42
           43      Developers that use our General Public Licenses protect your rights
           44    with two steps: (1) assert copyright on the software, and (2) offer
           45    you this License which gives you legal permission to copy, distribute
           46    and/or modify the software.
           47
           48      A secondary benefit of defending all users' freedom is that
           49    improvements made in alternate versions of the program, if they
           50    receive widespread use, become available for other developers to
           51    incorporate.       Many developers of free software are heartened and
           52    encouraged by the resulting cooperation.                  However, in the case of
           53    software used on network servers, this result may fail to come about.
           54    The GNU General Public License permits making a modified version and
           55    letting the public access it on a server without ever releasing its
           56    source code to the public.
           57
           58      The GNU Affero General Public License is designed specifically to
           59    ensure that, in such cases, the modified source code becomes available
           60    to the community.         It requires the operator of a network server to
           61    provide the source code of the modified version running there to the
           62    users of that server.          Therefore, public use of a modified version, on
           63    a publicly accessible server, gives the public access to the source
           64    code of the modified version.
           65
           66      An older license, called the Affero General Public License and
           67    published by Affero, was designed to accomplish similar goals.                  This is
           68    a different license, not a version of the Affero GPL, but Affero has
           69    released a new version of the Affero GPL which permits relicensing under
           70    this license.
           71
           72      The precise terms and conditions for copying, distribution and
           73    modification follow.
           74
           75                                   TERMS AND CONDITIONS


https://github.com/neo4j/neo4j/blob/3.4/enterprise/neo4j-enterprise/LICENSE.txt                               2/15
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           76
           77      0. Definitions.
           78
           79      "This License" refers to version 3 of the GNU Affero General Public
           80    License.
           81
           82      "Copyright" also means copyright-like laws that apply to other kinds
           83    of works, such as semiconductor masks.
           84
           85      "The Program" refers to any copyrightable work licensed under this
           86    License.     Each licensee is addressed as "you".                "Licensees" and
           87    "recipients" may be individuals or organizations.
           88
           89      To "modify" a work means to copy from or adapt all or part of the work
           90    in a fashion requiring copyright permission, other than the making of an
           91    exact copy.       The resulting work is called a "modified version" of the
           92    earlier work or a work "based on" the earlier work.
           93
           94      A "covered work" means either the unmodified Program or a work based
           95    on the Program.
           96
           97      To "propagate" a work means to do anything with it that, without
           98    permission, would make you directly or secondarily liable for
           99    infringement under applicable copyright law, except executing it on a
        100      computer or modifying a private copy.                 Propagation includes copying,
        101      distribution (with or without modification), making available to the
        102      public, and in some countries other activities as well.
        103
        104        To "convey" a work means any kind of propagation that enables other
        105      parties to make or receive copies.               Mere interaction with a user through
        106      a computer network, with no transfer of a copy, is not conveying.
        107
        108        An interactive user interface displays "Appropriate Legal Notices"
        109      to the extent that it includes a convenient and prominently visible
        110      feature that (1) displays an appropriate copyright notice, and (2)
        111      tells the user that there is no warranty for the work (except to the
        112      extent that warranties are provided), that licensees may convey the
        113      work under this License, and how to view a copy of this License.                   If
        114      the interface presents a list of user commands or options, such as a
        115      menu, a prominent item in the list meets this criterion.
        116
        117        1. Source Code.
        118
        119        The "source code" for a work means the preferred form of the work
        120      for making modifications to it.              "Object code" means any non-source
        121      form of a work.
        122
        123        A "Standard Interface" means an interface that either is an official


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        124      standard defined by a recognized standards body, or, in the case of
        125      interfaces specified for a particular programming language, one that
        126      is widely used among developers working in that language.
        127
        128        The "System Libraries" of an executable work include anything, other
        129      than the work as a whole, that (a) is included in the normal form of
        130      packaging a Major Component, but which is not part of that Major
        131      Component, and (b) serves only to enable use of the work with that
        132      Major Component, or to implement a Standard Interface for which an
        133      implementation is available to the public in source code form.                  A
        134      "Major Component", in this context, means a major essential component
        135      (kernel, window system, and so on) of the specific operating system
        136      (if any) on which the executable work runs, or a compiler used to
        137      produce the work, or an object code interpreter used to run it.
        138
        139        The "Corresponding Source" for a work in object code form means all
        140      the source code needed to generate, install, and (for an executable
        141      work) run the object code and to modify the work, including scripts to
        142      control those activities.            However, it does not include the work's
        143      System Libraries, or general-purpose tools or generally available free
        144      programs which are used unmodified in performing those activities but
        145      which are not part of the work.              For example, Corresponding Source
        146      includes interface definition files associated with source files for
        147      the work, and the source code for shared libraries and dynamically
        148      linked subprograms that the work is specifically designed to require,
        149      such as by intimate data communication or control flow between those
        150      subprograms and other parts of the work.
        151
        152        The Corresponding Source need not include anything that users
        153      can regenerate automatically from other parts of the Corresponding
        154      Source.
        155
        156        The Corresponding Source for a work in source code form is that
        157      same work.
        158
        159        2. Basic Permissions.
        160
        161        All rights granted under this License are granted for the term of
        162      copyright on the Program, and are irrevocable provided the stated
        163      conditions are met.          This License explicitly affirms your unlimited
        164      permission to run the unmodified Program.                  The output from running a
        165      covered work is covered by this License only if the output, given its
        166      content, constitutes a covered work.                This License acknowledges your
        167      rights of fair use or other equivalent, as provided by copyright law.
        168
        169        You may make, run and propagate covered works that you do not
        170      convey, without conditions so long as your license otherwise remains
        171      in force.      You may convey covered works to others for the sole purpose


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        172      of having them make modifications exclusively for you, or provide you
        173      with facilities for running those works, provided that you comply with
        174      the terms of this License in conveying all material for which you do
        175      not control copyright.           Those thus making or running the covered works
        176      for you must do so exclusively on your behalf, under your direction
        177      and control, on terms that prohibit them from making any copies of
        178      your copyrighted material outside their relationship with you.
        179
        180        Conveying under any other circumstances is permitted solely under
        181      the conditions stated below.             Sublicensing is not allowed; section 10
        182      makes it unnecessary.
        183
        184        3. Protecting Users' Legal Rights From Anti-Circumvention Law.
        185
        186        No covered work shall be deemed part of an effective technological
        187      measure under any applicable law fulfilling obligations under article
        188      11 of the WIPO copyright treaty adopted on 20 December 1996, or
        189      similar laws prohibiting or restricting circumvention of such
        190      measures.
        191
        192        When you convey a covered work, you waive any legal power to forbid
        193      circumvention of technological measures to the extent such circumvention
        194      is effected by exercising rights under this License with respect to
        195      the covered work, and you disclaim any intention to limit operation or
        196      modification of the work as a means of enforcing, against the work's
        197      users, your or third parties' legal rights to forbid circumvention of
        198      technological measures.
        199
        200        4. Conveying Verbatim Copies.
        201
        202        You may convey verbatim copies of the Program's source code as you
        203      receive it, in any medium, provided that you conspicuously and
        204      appropriately publish on each copy an appropriate copyright notice;
        205      keep intact all notices stating that this License and any
        206      non-permissive terms added in accord with section 7 apply to the code;
        207      keep intact all notices of the absence of any warranty; and give all
        208      recipients a copy of this License along with the Program.
        209
        210        You may charge any price or no price for each copy that you convey,
        211      and you may offer support or warranty protection for a fee.
        212
        213        5. Conveying Modified Source Versions.
        214
        215        You may convey a work based on the Program, or the modifications to
        216      produce it from the Program, in the form of source code under the
        217      terms of section 4, provided that you also meet all of these conditions:
        218
        219           a) The work must carry prominent notices stating that you modified


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        220           it, and giving a relevant date.
        221
        222           b) The work must carry prominent notices stating that it is
        223           released under this License and any conditions added under section
        224           7.    This requirement modifies the requirement in section 4 to
        225           "keep intact all notices".
        226
        227           c) You must license the entire work, as a whole, under this
        228           License to anyone who comes into possession of a copy.                 This
        229           License will therefore apply, along with any applicable section 7
        230           additional terms, to the whole of the work, and all its parts,
        231           regardless of how they are packaged.                 This License gives no
        232           permission to license the work in any other way, but it does not
        233           invalidate such permission if you have separately received it.
        234
        235           d) If the work has interactive user interfaces, each must display
        236           Appropriate Legal Notices; however, if the Program has interactive
        237           interfaces that do not display Appropriate Legal Notices, your
        238           work need not make them do so.
        239
        240        A compilation of a covered work with other separate and independent
        241      works, which are not by their nature extensions of the covered work,
        242      and which are not combined with it such as to form a larger program,
        243      in or on a volume of a storage or distribution medium, is called an
        244      "aggregate" if the compilation and its resulting copyright are not
        245      used to limit the access or legal rights of the compilation's users
        246      beyond what the individual works permit.                  Inclusion of a covered work
        247      in an aggregate does not cause this License to apply to the other
        248      parts of the aggregate.
        249
        250        6. Conveying Non-Source Forms.
        251
        252        You may convey a covered work in object code form under the terms
        253      of sections 4 and 5, provided that you also convey the
        254      machine-readable Corresponding Source under the terms of this License,
        255      in one of these ways:
        256
        257           a) Convey the object code in, or embodied in, a physical product
        258           (including a physical distribution medium), accompanied by the
        259           Corresponding Source fixed on a durable physical medium
        260           customarily used for software interchange.
        261
        262           b) Convey the object code in, or embodied in, a physical product
        263           (including a physical distribution medium), accompanied by a
        264           written offer, valid for at least three years and valid for as
        265           long as you offer spare parts or customer support for that product
        266           model, to give anyone who possesses the object code either (1) a
        267           copy of the Corresponding Source for all the software in the


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        268           product that is covered by this License, on a durable physical
        269           medium customarily used for software interchange, for a price no
        270           more than your reasonable cost of physically performing this
        271           conveying of source, or (2) access to copy the
        272           Corresponding Source from a network server at no charge.
        273
        274           c) Convey individual copies of the object code with a copy of the
        275           written offer to provide the Corresponding Source.           This
        276           alternative is allowed only occasionally and noncommercially, and
        277           only if you received the object code with such an offer, in accord
        278           with subsection 6b.
        279
        280           d) Convey the object code by offering access from a designated
        281           place (gratis or for a charge), and offer equivalent access to the
        282           Corresponding Source in the same way through the same place at no
        283           further charge.         You need not require recipients to copy the
        284           Corresponding Source along with the object code.            If the place to
        285           copy the object code is a network server, the Corresponding Source
        286           may be on a different server (operated by you or a third party)
        287           that supports equivalent copying facilities, provided you maintain
        288           clear directions next to the object code saying where to find the
        289           Corresponding Source.           Regardless of what server hosts the
        290           Corresponding Source, you remain obligated to ensure that it is
        291           available for as long as needed to satisfy these requirements.
        292
        293           e) Convey the object code using peer-to-peer transmission, provided
        294           you inform other peers where the object code and Corresponding
        295           Source of the work are being offered to the general public at no
        296           charge under subsection 6d.
        297
        298        A separable portion of the object code, whose source code is excluded
        299      from the Corresponding Source as a System Library, need not be
        300      included in conveying the object code work.
        301
        302        A "User Product" is either (1) a "consumer product", which means any
        303      tangible personal property which is normally used for personal, family,
        304      or household purposes, or (2) anything designed or sold for incorporation
        305      into a dwelling.        In determining whether a product is a consumer product,
        306      doubtful cases shall be resolved in favor of coverage.            For a particular
        307      product received by a particular user, "normally used" refers to a
        308      typical or common use of that class of product, regardless of the status
        309      of the particular user or of the way in which the particular user
        310      actually uses, or expects or is expected to use, the product.              A product
        311      is a consumer product regardless of whether the product has substantial
        312      commercial, industrial or non-consumer uses, unless such uses represent
        313      the only significant mode of use of the product.
        314
        315        "Installation Information" for a User Product means any methods,


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        316      procedures, authorization keys, or other information required to install
        317      and execute modified versions of a covered work in that User Product from
        318      a modified version of its Corresponding Source.                  The information must
        319      suffice to ensure that the continued functioning of the modified object
        320      code is in no case prevented or interfered with solely because
        321      modification has been made.
        322
        323        If you convey an object code work under this section in, or with, or
        324      specifically for use in, a User Product, and the conveying occurs as
        325      part of a transaction in which the right of possession and use of the
        326      User Product is transferred to the recipient in perpetuity or for a
        327      fixed term (regardless of how the transaction is characterized), the
        328      Corresponding Source conveyed under this section must be accompanied
        329      by the Installation Information.               But this requirement does not apply
        330      if neither you nor any third party retains the ability to install
        331      modified object code on the User Product (for example, the work has
        332      been installed in ROM).
        333
        334        The requirement to provide Installation Information does not include a
        335      requirement to continue to provide support service, warranty, or updates
        336      for a work that has been modified or installed by the recipient, or for
        337      the User Product in which it has been modified or installed.                  Access to a
        338      network may be denied when the modification itself materially and
        339      adversely affects the operation of the network or violates the rules and
        340      protocols for communication across the network.
        341
        342        Corresponding Source conveyed, and Installation Information provided,
        343      in accord with this section must be in a format that is publicly
        344      documented (and with an implementation available to the public in
        345      source code form), and must require no special password or key for
        346      unpacking, reading or copying.
        347
        348        7. Additional Terms.
        349
        350        "Additional permissions" are terms that supplement the terms of this
        351      License by making exceptions from one or more of its conditions.
        352      Additional permissions that are applicable to the entire Program shall
        353      be treated as though they were included in this License, to the extent
        354      that they are valid under applicable law.                  If additional permissions
        355      apply only to part of the Program, that part may be used separately
        356      under those permissions, but the entire Program remains governed by
        357      this License without regard to the additional permissions.
        358
        359        When you convey a copy of a covered work, you may at your option
        360      remove any additional permissions from that copy, or from any part of
        361      it.   (Additional permissions may be written to require their own
        362      removal in certain cases when you modify the work.)                  You may place
        363      additional permissions on material, added by you to a covered work,


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        364      for which you have or can give appropriate copyright permission.
        365
        366        Notwithstanding any other provision of this License, for material you
        367      add to a covered work, you may (if authorized by the copyright holders of
        368      that material) supplement the terms of this License with terms:
        369
        370           a) Disclaiming warranty or limiting liability differently from the
        371           terms of sections 15 and 16 of this License; or
        372
        373           b) Requiring preservation of specified reasonable legal notices or
        374           author attributions in that material or in the Appropriate Legal
        375           Notices displayed by works containing it; or
        376
        377           c) Prohibiting misrepresentation of the origin of that material, or
        378           requiring that modified versions of such material be marked in
        379           reasonable ways as different from the original version; or
        380
        381           d) Limiting the use for publicity purposes of names of licensors or
        382           authors of the material; or
        383
        384           e) Declining to grant rights under trademark law for use of some
        385           trade names, trademarks, or service marks; or
        386
        387           f) Requiring indemnification of licensors and authors of that
        388           material by anyone who conveys the material (or modified versions of
        389           it) with contractual assumptions of liability to the recipient, for
        390           any liability that these contractual assumptions directly impose on
        391           those licensors and authors.
        392
        393        All other non-permissive additional terms are considered "further
        394      restrictions" within the meaning of section 10.                  If the Program as you
        395      received it, or any part of it, contains a notice stating that it is
        396      governed by this License along with a term that is a further restriction,
        397      you may remove that term.            If a license document contains a further
        398      restriction but permits relicensing or conveying under this License, you
        399      may add to a covered work material governed by the terms of that license
        400      document, provided that the further restriction does not survive such
        401      relicensing or conveying.
        402
        403        If you add terms to a covered work in accord with this section, you
        404      must place, in the relevant source files, a statement of the
        405      additional terms that apply to those files, or a notice indicating
        406      where to find the applicable terms.
        407
        408        Additional terms, permissive or non-permissive, may be stated in the
        409      form of a separately written license, or stated as exceptions;
        410      the above requirements apply either way.
        411


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        412        8. Termination.
        413
        414        You may not propagate or modify a covered work except as expressly
        415      provided under this License.             Any attempt otherwise to propagate or
        416      modify it is void, and will automatically terminate your rights under
        417      this License (including any patent licenses granted under the third
        418      paragraph of section 11).
        419
        420        However, if you cease all violation of this License, then your
        421      license from a particular copyright holder is reinstated (a)
        422      provisionally, unless and until the copyright holder explicitly and
        423      finally terminates your license, and (b) permanently, if the copyright
        424      holder fails to notify you of the violation by some reasonable means
        425      prior to 60 days after the cessation.
        426
        427        Moreover, your license from a particular copyright holder is
        428      reinstated permanently if the copyright holder notifies you of the
        429      violation by some reasonable means, this is the first time you have
        430      received notice of violation of this License (for any work) from that
        431      copyright holder, and you cure the violation prior to 30 days after
        432      your receipt of the notice.
        433
        434        Termination of your rights under this section does not terminate the
        435      licenses of parties who have received copies or rights from you under
        436      this License.       If your rights have been terminated and not permanently
        437      reinstated, you do not qualify to receive new licenses for the same
        438      material under section 10.
        439
        440        9. Acceptance Not Required for Having Copies.
        441
        442        You are not required to accept this License in order to receive or
        443      run a copy of the Program.            Ancillary propagation of a covered work
        444      occurring solely as a consequence of using peer-to-peer transmission
        445      to receive a copy likewise does not require acceptance.                    However,
        446      nothing other than this License grants you permission to propagate or
        447      modify any covered work.            These actions infringe copyright if you do
        448      not accept this License.            Therefore, by modifying or propagating a
        449      covered work, you indicate your acceptance of this License to do so.
        450
        451        10. Automatic Licensing of Downstream Recipients.
        452
        453        Each time you convey a covered work, the recipient automatically
        454      receives a license from the original licensors, to run, modify and
        455      propagate that work, subject to this License.                    You are not responsible
        456      for enforcing compliance by third parties with this License.
        457
        458        An "entity transaction" is a transaction transferring control of an
        459      organization, or substantially all assets of one, or subdividing an


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        460      organization, or merging organizations.                 If propagation of a covered
        461      work results from an entity transaction, each party to that
        462      transaction who receives a copy of the work also receives whatever
        463      licenses to the work the party's predecessor in interest had or could
        464      give under the previous paragraph, plus a right to possession of the
        465      Corresponding Source of the work from the predecessor in interest, if
        466      the predecessor has it or can get it with reasonable efforts.
        467
        468        You may not impose any further restrictions on the exercise of the
        469      rights granted or affirmed under this License.                   For example, you may
        470      not impose a license fee, royalty, or other charge for exercise of
        471      rights granted under this License, and you may not initiate litigation
        472      (including a cross-claim or counterclaim in a lawsuit) alleging that
        473      any patent claim is infringed by making, using, selling, offering for
        474      sale, or importing the Program or any portion of it.
        475
        476        11. Patents.
        477
        478        A "contributor" is a copyright holder who authorizes use under this
        479      License of the Program or a work on which the Program is based.                   The
        480      work thus licensed is called the contributor's "contributor version".
        481
        482        A contributor's "essential patent claims" are all patent claims
        483      owned or controlled by the contributor, whether already acquired or
        484      hereafter acquired, that would be infringed by some manner, permitted
        485      by this License, of making, using, or selling its contributor version,
        486      but do not include claims that would be infringed only as a
        487      consequence of further modification of the contributor version.                   For
        488      purposes of this definition, "control" includes the right to grant
        489      patent sublicenses in a manner consistent with the requirements of
        490      this License.
        491
        492        Each contributor grants you a non-exclusive, worldwide, royalty-free
        493      patent license under the contributor's essential patent claims, to
        494      make, use, sell, offer for sale, import and otherwise run, modify and
        495      propagate the contents of its contributor version.
        496
        497        In the following three paragraphs, a "patent license" is any express
        498      agreement or commitment, however denominated, not to enforce a patent
        499      (such as an express permission to practice a patent or covenant not to
        500      sue for patent infringement).             To "grant" such a patent license to a
        501      party means to make such an agreement or commitment not to enforce a
        502      patent against the party.
        503
        504        If you convey a covered work, knowingly relying on a patent license,
        505      and the Corresponding Source of the work is not available for anyone
        506      to copy, free of charge and under the terms of this License, through a
        507      publicly available network server or other readily accessible means,


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        508      then you must either (1) cause the Corresponding Source to be so
        509      available, or (2) arrange to deprive yourself of the benefit of the
        510      patent license for this particular work, or (3) arrange, in a manner
        511      consistent with the requirements of this License, to extend the patent
        512      license to downstream recipients.               "Knowingly relying" means you have
        513      actual knowledge that, but for the patent license, your conveying the
        514      covered work in a country, or your recipient's use of the covered work
        515      in a country, would infringe one or more identifiable patents in that
        516      country that you have reason to believe are valid.
        517
        518        If, pursuant to or in connection with a single transaction or
        519      arrangement, you convey, or propagate by procuring conveyance of, a
        520      covered work, and grant a patent license to some of the parties
        521      receiving the covered work authorizing them to use, propagate, modify
        522      or convey a specific copy of the covered work, then the patent license
        523      you grant is automatically extended to all recipients of the covered
        524      work and works based on it.
        525
        526        A patent license is "discriminatory" if it does not include within
        527      the scope of its coverage, prohibits the exercise of, or is
        528      conditioned on the non-exercise of one or more of the rights that are
        529      specifically granted under this License.                  You may not convey a covered
        530      work if you are a party to an arrangement with a third party that is
        531      in the business of distributing software, under which you make payment
        532      to the third party based on the extent of your activity of conveying
        533      the work, and under which the third party grants, to any of the
        534      parties who would receive the covered work from you, a discriminatory
        535      patent license (a) in connection with copies of the covered work
        536      conveyed by you (or copies made from those copies), or (b) primarily
        537      for and in connection with specific products or compilations that
        538      contain the covered work, unless you entered into that arrangement,
        539      or that patent license was granted, prior to 28 March 2007.
        540
        541        Nothing in this License shall be construed as excluding or limiting
        542      any implied license or other defenses to infringement that may
        543      otherwise be available to you under applicable patent law.
        544
        545        12. No Surrender of Others' Freedom.
        546
        547        If conditions are imposed on you (whether by court order, agreement or
        548      otherwise) that contradict the conditions of this License, they do not
        549      excuse you from the conditions of this License.                  If you cannot convey a
        550      covered work so as to satisfy simultaneously your obligations under this
        551      License and any other pertinent obligations, then as a consequence you may
        552      not convey it at all.          For example, if you agree to terms that obligate you
        553      to collect a royalty for further conveying from those to whom you convey
        554      the Program, the only way you could satisfy both those terms and this
        555      License would be to refrain entirely from conveying the Program.


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        556
        557        13. Remote Network Interaction; Use with the GNU General Public License.
        558
        559        Notwithstanding any other provision of this License, if you modify the
        560      Program, your modified version must prominently offer all users
        561      interacting with it remotely through a computer network (if your version
        562      supports such interaction) an opportunity to receive the Corresponding
        563      Source of your version by providing access to the Corresponding Source
        564      from a network server at no charge, through some standard or customary
        565      means of facilitating copying of software.                  This Corresponding Source
        566      shall include the Corresponding Source for any work covered by version 3
        567      of the GNU General Public License that is incorporated pursuant to the
        568      following paragraph.
        569
        570        Notwithstanding any other provision of this License, you have permission
        571      to link or combine any covered work with a work licensed under version 3
        572      of the GNU General Public License into a single combined work, and to
        573      convey the resulting work.            The terms of this License will continue to
        574      apply to the part which is the covered work, but the work with which it is
        575      combined will remain governed by version 3 of the GNU General Public
        576      License.
        577
        578        14. Revised Versions of this License.
        579
        580        The Free Software Foundation may publish revised and/or new versions of
        581      the GNU Affero General Public License from time to time.                  Such new
        582      versions will be similar in spirit to the present version, but may differ
        583      in detail to address new problems or concerns.
        584
        585        Each version is given a distinguishing version number.                  If the
        586      Program specifies that a certain numbered version of the GNU Affero
        587      General Public License "or any later version" applies to it, you have
        588      the option of following the terms and conditions either of that
        589      numbered version or of any later version published by the Free
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        639
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